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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                               Crim. No. _____
                                                                  20-CR-1008 (CCC)


                V.                                     APPLICA  TION FOR PERMISSION
                                                       TO ENTER PLEA     OF GUILTY
                                                       (Defendant with Counsel)
,1{4r-lH,Qw &.'(J�(Y)r�
 (Defendant's Name)




 MCI. -/tl-u,1v11 &
(Defendant's Name)
                             Qj   am, Q, hereby certifies as follows:

1.       My full name is . .J1"\ H be w J3e-:::::1
         against me be held m that name.
                                           ru              ct 0,,�and I request that all proceedings

2.       I understand that the Constitution and laws of the United States guarantee me the right to be
         represented by a lawyer at every stage in these proceedings, including any trial on these
         cnarges, and that if I cannot afford to hire a lawyer, the Court will provide one for me.
3.       I have a �awyer who is representing me in this proceeding. My lawyer's name is
          'Br,12o §. �k p, CYL                         . I am satisfied that I have had enough time
         tociiscuss this matter with-my lawyer.
4.       English@} [IS NOT] my native language. My formal education stopped after [grade]
         _____. I am presently [UNEMPLOYED] [EMPLOYED] as a
         ----------- (occupation).
5.       I have taken [NO] [THE FOLLOWING] drugs or medication within the past seventy-two
         hours: ----------------------

6.      J..[B� VE]e:::VE NE�een a patient in a mental hospital or institution.    I [DO]®
       �      believe that at t epiesent time I am mentally ill or mentally incompetent in any
       respect.

7.       I received a copy of the [COMPLAINT] [INDICTMENT@ffORMATIO�efore being
                                                               I understand that the




         [add separate sheets if necessary]

                                                                                     DNJ-CR-12 (Rev. 08/2010)
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46.
       NTheeofollowing
             ,
                       person s , ifany, assisted me in completing this application: &a ,
                              ()                                                                     0    I
              ¥1j
I hereby
the      certifystatements
    foregoing     that the foregoing
                            made  by information andfalse
                                     me are wilfully statements     ject to
                                                                  herein
                                                          , I am sub     arepunishment.
                                                                             true. I am aware that if any of

Signed by me i open court i the presence ofmy lawyer this NO J day of_\                 <__� 2020.




                                                    7                                DNJ-CR-12 (Rev. 08/2010)
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